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    Case 1:07-cv-01080-LJO-GSA
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   Roger McIntosh


                               UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF CALIFORNIA

                                          FRESNO DIVISION


ROGER MCINTOSH ,                                    Case No. 1:07-cv-01080-LJO-GSA


   Plaintiff,                                          Joint stipulation to continue case management
                                                       conference and order continuing case
                                                       management conference
   v.


   NORTHERN CALIFORNIA UNIVERSAL
   ENTERPRISES COMPANY , et al.,



   Defendants.


         JOINT STIPULATION TO CONTINUE CASE MANAGEMENT CONFERENCE
           This Joint Stipulation to Continue Case Management Conference is entered into between

   Plaintiffs Roger McIntosh and Defendants Northern California Universal Enterprises, et al., by

   and through their counsel of record, with reference to the following facts:
      1. A Case Management Conference is currently calendared for February 4, 2008, at 8:30 a.m.

        2. For the past several weeks, the parties have been engaged in discussions regarding
           resolving this matter and believe that they would benefit from further discussions.
        3. In light of this, the parties request that the Case Management Conference be continued for
           three weeks to allow the parties to continue working toward resolving this case.
        4. The parties propose the following revised case management schedule and deadlines:
                   2/11/08   Last day to meet and confer
                   2/25/08   Last day to file Case Management Statement
                   3/3/08    Case Management Conference

   IT IS THEREFORE STIPULATED that, subject to the approval of the Court, the Case
Management    Conference currently calendared
 Case 1:07-cv-01080-LJO-GSA            Document  for18
                                                     February
                                                        Filed 4, 2008, should
                                                              01/30/08    Pagebe 2continued
                                                                                   of 2     to March
3, 2008, with all deadlines relating to the Case Management Conference continued accordingly.
   Dated: January 25, 2008               Respectfully submitted,Plaintiff
                                                 Roger McIntoshBy his attorneys,
                                              Forrest A. Hainline III (SBN 64166)
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                                              Defendants,Northern California Universal
                                                     Enterprises, et alBy its attorneys,/s/ Steven
                                                     J. Hassing as authorized on
                                                     1/25/08____________________________
                                                     _________Steven J. Hassing (SBN
                                                     152125)
                                                  LAW OFFICES OF STEVEN J.
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Dated: January 25, 2008

              ORDER CONTINUING CASE MANAGEMENT CONFERENCE

For good cause shown in the Joint Stipulation to Continue Case Management Conference,

PURSUANT TO STIPULATION, IT IS SO ORDERED that the Case Management Conference

currently calendared for February 4, 2008, is continued to March 3, 2008, with all deadlines
relating to the Case Management Conference continued accordingly.



IT IS SO ORDERED.



Dated:     January 29, 2008                          /s/ Anthony W. Ishii

0m8i78                                      UNITED STATES DISTRICT JUDGE
